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                                     CRIMINAL COVERSHEET
      DEFENDANT’S NAME: Josiah Colt                                          JUVENILE: No
      DEFENSE ATTORNEY:
                 Address:                                          PUBLIC or SEALED: Public
                                                                        SERVICE TYPE: Warrant
                                                                 (Summons or Warrant or
                                                                  Notice (if Superseding))
                Telephone No.:                                                     ISSUE: Yes

                                     Special Agent Matthew
  INVESTIGATIVE AGENT:                                                  INTERPRETER: No
                                     Gano
                Telephone No.:                                          If YES, language:
                                Federal Bureau of
                     AGENCY: Investigation – Washington
                                Field Office
CASE INFORMATION:                                       RELATED COMPLAINT:
Criminal Complaint and Arrest Warrant Issued by United  CASE NUMBER:
States Magistrate Judge G. Michael Harvey on 01/09/21

                             CRIMINAL CHARGING INFORMATION

  CHARGING DOCUMENT: Complaint or Perfected Citation
                     Felony:      No                        County of Offense: Washington, D.C.
       Class A Misdemeanor: Yes (Count 1)                 Estimated Trial Time: 2 days
   Class B or C Misdemeanor: Yes (Count 2)
                   (Petty Offense)
                                       COUNT/                                             PENALTIES
           STATUTE
                                     FORFEITURE       BRIEF DESCRIPTION            (Include Supervised Release
    (Title and Section(s))           ALLEGATION                                      and Special Assessment)
18 U.S.C. Sec. 1752(a)(1)                One        Knowingly Entering or         Not more than 1 year
                                                    Remaining in any Restricted   imprisonment; Up to a
                                                    Building or Grounds           $100,000 fine; Not more than 1
                                                    Without Lawful Authority      year supervised release; Up to
40 U.S.C. Sec. 5104(e)(2)                Two                                      5 years probation.
                                                    Violent Entry and
                                                    Disorderly Conduct on         Not more than 6 months
                                                    Capitol Grounds               imprisonment; Not more than
                                                                                  a $5,000 fine; Not more than 1
                                                                                  year supervised release; Up to
                                                                                  5 years probation.


   Date:     January 13, 2020                   Assistant U.S. Attorneys: Elizabeth Elizabeth Aloi, D.C.
                                                                          USAO / Heather Patricco / Idaho
                                                                          USAO
                                                          Telephone No.: 208-334-9121
